Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.13 Page 1 of 18

EXHIBIT B
Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.14 Page 2of18 —

No

 

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO ist copy - Defendant 3rd cary - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT i
9th JUDICIAL CIRCUIT SUMMONS 19. f soot -NI
COUNTY PROBATE ‘
Court address Court telephone no.
Kalamazoo County Courthouse, 227 W. Michigan Ave., Kalamazoo, MI 49007 ALEXANDER Cc. LIPSEY (269) 383-8950
Plaintiffs name(s), address(es), and telephone no(s). Defendant's name(s), address(es), and telephone na(s).
STEPHANIE UPCHURCH J.B. HUNT TRANSPORT, INC.
Vv

 

Piainliff’s atlorney, bar no., address, and telephone no.

     
  

  
  

      

Joseph Sukup (P39898)

Ven R. Johnson (P39219) r
Johnson Law, PLC aT ON CIR 200
99 Monoroe Ave. NW Suite 975 COLAHAZOO, MICHIGAN

  

Grand Rapids, MI 49503 (616) 235-9400

 

 

 

 

 

 

Instructions: Check the items below thal apply to you and provide any required information. Submit this form to the court clerk along with your complaint and.
if necessary, a case Inventory addendum (form MC 21). The summons section will be completed by the court clerk.

Domestic Relations Case

CL] There are no pending or resolved cases within the jurisdiction of the family diviston of the circuit court involving the family or
family members of the person(s) who are the subject of the complaint.

C) There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
(form MC 21) listing those cases.

(It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the compiaint.

Civil Case

(] This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.

(J) MDHHS and a contracted health plan may have a right to recover expenses in this case. | certify that notice and a copy of
the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).

There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

CA civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

been previously filed in [this court, (J Court, where

 

it was given case number__— and assigned to Judge

The action Clremains Lis no longer pending.

Summons section completed by court clerk.

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:

1. You are being sued.

2. YOU HAVE 24 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
served outside this state).

3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
demanded in the complaint.

4, \f you require special accommodations to use the court because of a disability or if you require a foreigh Taqguage interpreter
to help you fully participate in court proceedings, please contact the cominttnpdiately to make arrangements.

"APR 24 2019 PP 2 4 2019

*This summons is invalid unless served on or before its expiration date. T

mc oi (119) SUMMONS

 

 

 

 

 

 

 

 

 

 

 

 
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Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.15 Page 3 of 18

STATE OF MICHIGAN
IN CIRCUIT COURT FOR THE COUNTY OF KALAMAZOO

STEPHANIE UPCHURCH

Plaintiffs, c
Case No. 19- (-) -NI

Hon.
v. ALEXANDER C. LIPSEY

JOHN DOE and J.B. HUNT TRANSPORT, INC.
Defendants.

JOSEPH SUKUP (P39898)
JEREMY TIEDT (P79856)
VEN R. JOHNSON (P39219)
Attorneys for Plaintiff

Johnson Law, P.C.

99 Monroe Ave, N.W., Suite 975
Grand Rapids, MI 49503

(616) 235-9400
jtiedt@venjohnsonlaw.com

 

COMPLAINT AND JURY DEMAND

 

There is no other pending civil action arising out
of the transaction or occurrence alleged in this Complaint.

NOW COMES Plaintiff, Stephanie Upchurch, by and through her attorneys, JOHNSON
LAW, PC, and for her Complaint against Defendants, John Doe, and J.B. Hunt Transport, Inc..

states as follows:

1. At all times relevant to this lawsuit, Plaintiff, Stephanie Upchurch (“Stephanie”) was an
individual that resided in the City of Kalamazoo, County of Kalamazoo, State of Michigan.
2. At all times relevant to this lawsuit, Defendant, J.B. Hunt Transport, Inc. (“J.B. Hunt”),

was a corporation organized and existing pursuant to the laws of the State of Michigan. J.B. Hunt

 

 
 

Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.16 Page 4 of 18

does business in Kalamazoo County including, but not limited to, carrying on functions of an
interstate motor carrier, which includes the operation, maintenance and use of commercial semi-
trucks and trailers.

3. Atall times relevant to this lawsuit, Defendant, John Doe (“John Doe”), was an individual
for which residence cannot be ascertained, but was acting within the scope of his employment
and/or agency with Defendant, J.B. Hunt, in Kalamazoo County for all wrongful acts and/or
omissions stated herein.

4. Atal] times relevant to this lawsuit, Defendant, John Doe, was employed by, was acting as
the agent of, or was under dispatch by Defendant, J.B. Hunt, and was otherwise acting within the
scope of his employment/agency on May 8, 2018, as more particularly described below. Therefore,
Defendant, J.B. Hunt, is liable for the wrongful acts/omissions of Defendant, John Doe, recited
herein and for the resulting damages to Stephanie.

5, Defendant, John Doe’s, use of the subject tractor/trailer was with the express or implied
consent of Defendant, J.B. Hunt, therefore, J.B. Hunt is liable for the injuries and resulting
damages to Stephanie.

6. The amount in controversy exceeds $25,000 exclusive of costs, interest and attorney fees
and this matter is otherwise within the jurisdiction of the Court.

GENERAL ALLEGATIONS

7. Plaintiff reasserts and realleges the allegations contained in paragraphs 1-6 above as if fully
restated here.

8. On May 8, 2018, at approximately 3:46 p.m., Stephanie was operating a 2006 Jeep Grand
Cherokee.

9. At that date and time indicated above, Stephanie was stopped at the light on W. Paterson

 
 

Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.17 Page 5 of 18

Street, while Defendant, John Doe, was operating the subject tractor/trailer and was in the process
of making a left turn from W. Paterson Street onto N. Westnedge Ave.

10. However, Defendant, John Doe, could not make the turn and started backing up, failed to
observe Stephanie’s vehicle and collided with it.

11. The impact caused crushing damage to Stephanie’s vehicle, and pushed Stephanie’s
vehicle back several feet on W. Paterson Street.

12. Defendant, John Doe, fled the scene driving southbound on N. Westnedge Ave.

13. As a direct and proximate result of the negligent and/or grossly negligent acts and/or
omissions of Defendants, Stephanie, has suffered serious and permanent impairments of vital
bodily functions, physical and emotional injuries, including, but not limited to, cervical injury, a
traumatic brain injury, and other injuries and resulting damages.

COUNT I - NEGLIGENCE/GROSS NEGLIGENCE
JOHN DOE and J.B. HUNT

14. Plaintiff reasserts and realleges the allegations contained in paragraphs 1 through 13
above, as if fully stated.

15. Defendant, John Doe, drove Defendant, J.B. Hunt's, subject tractor/trailer in the ordinary
course and scope of his employment/agency with the Defendant, J.B. Hunt's, express and/or
implied consent; therefore, Defendant, J.B. Hunt, is vicariously liable for John Doe’s negligent
and/or grossly negligent acts and/or omissions.

16. Defendants, and each of them, owed certain duties to Stephanie to operate the semi-tractor
trailer in a reasonably safe manner in order to avoid causing injuries to others. Such duties
included, without limitation:

a. Exiting his tractor and looking to assure safe backing could be accomplished,

b. Backing in a safe manner;

 

 
 

Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.18 Page 6 of 18

c. Not striking Plaintiff's vehicle;
d. Using a spotter;
e. Sounding his horn;
f. Otherwise acting as a reasonable professional truck driver would under the
circumstances.
17. Defendants breached the above duties in the following ways and were negligent and/ or
grossly negligent, including, but not limited to:
a. Driving the semi-tractor/trailer in a reckless manner;
b. Driving the semi-tractor/trailer in a careless or negligent manner;
c. Failing to keep a proper lookout and negligently operating the semi-tractor/trailer in
violation of the applicable motor vehicle codes and the Federal Motor Carrier Safety
Act;
d. Failing to stop the semi-tractor trailer in the assured, clear distance so to avoid striking
Plaintiff's vehicle;
e. Striking Plaintiff's vehicle when Defendant knew, or reasonably should have known,
that such wrongful conduct would likely lead to injury to Plaintiff,
f. Failing to properly back the semi-tractor/trailer, use a spotter or sound his horn,
g. Fleeing the scene of the accident;
h, All other acts of negligence and/or gross negligence that may be learned through the
course of discovery.
18. As adirect and proximate result of Defendants’ wrongful acts and/or omissions, negligence
recklessness and/or grossly negtigent conduct, Stephanie has suffered serious and permanent

impairments of vital bodily functions and/or permanent and serious disfigurement, and will

 
 

 

Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.19 Page 7 of 18

continue to suffer damages indefinitely into the future, including but not limited to:

a. Physical pain and suffering;

b. Mental anguish;

c. Fright and shock;

d. Denial of social pleasures and enjoyments;

e. Embarrassment, humiliation or mortification;

f. Disability and disfigurement;

g. Economic damages including, without limitation, work loss, loss of wages and medical
and related expenses; and

h. All other damages learned through the course of discovery and/or compensable under
the law.

COUNT II - NEGLIGENT HIRING, ENTRUSTMENT, TRAINING,
AND/OR RETENTION - J.B. HUNT

19. Plaintiff reasserts and re-alleges each and every allegation contained in paragraphs |
through 18 as if fully set forth herein.

20. At all times relevant to this lawsuit, Defendant, J.B. Hunt, entrusted the subject tractor
trailer/trailer to Defendant, John Doe, despite his incompetency, inexperience and/or recklessness,
which was known or should have been known to J.B. Hunt.

21. As a direct and proximate result of J.B. Hunt’s negligent entrustment of the subject
tractor/trailer to Defendant, John Doe, the subject incident occurred and Stephanie suffered those
injuries and damages stated herein.

22. In addition, or, in the alternative to the foregoing, Defendant, J.B. Hunt, failed to properly
train and supervise in Defendant, John Doe, the proper operation of the subject tractor/trailer and

such failures were a proximate cause of the injuries and damages sustained to Stephanie.

 

 
 

| __— Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.20 Page 8 of 18 oe

WHEREFORE, Plaintiff, Stephanie Upchurch, respectfully requests that this Honorable Court

award damages, exclusive of costs, interests and attorney fees, in excess of $25,000.00 and award

her any other relief, equitable or otherwise, to which she is entitled.

Dated: ri ( ZZ, ZO09

By:

Respectfully submitted,

JOHNSON LAW, PLC

bh

JOYEPH SUKUP (P59898)
JEREMY TIEDT (P79856)
VEN R. JOHNSON (P39219)
Attomeys for Plaintiff

Johnson Law, P.C.

99 Monroe Ave, N.W., Suite 975
Grand Rapids, MI 49503

(616) 235-9400

jtiedt@veniohnsonlaw.com

DEMAND FOR JURY TRIAL

Plaintiff, Stephanie Upchurch, by and through her attorneys at JOHNSON LAW, PLC,

hereby demands a trial by jury.

Dated: -{ ZZ, Zer9

By:

Respectfully submitted,

* bs LAW, PLC
JOSEPH SUKUP (P39898)
JEREMY TIEDT (P79856)
VEN R. JOHNSON (P39219)
Attomeys for Plaintiff

Johnson Law, P.C.

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Grand Rapids, MI 49503
(616) 235-9400

jtiedt@venjohnsonlaw.com

 

 

 
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Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.21 Page 9 of 18

STATE OF MICHIGAN
KALAMAZOO COUNTY CIRCUIT COURT
STEPHANIE UPCHURCH,
Plaintiff,
“VS- Case No. 19-0204-NI

Judge Alexander C. Lipsey
JOHN DOE and J.B. HUNT TRANSPORT, INC.

 

Defendants.
JOHNSON LAW PLC FOSTER SWIFT COLLINS & SMITH PC
By: Jeremy Tiedt (P79856) By: Dirk H. Beckwith (P35609)
Joseph Sukup (P39898) Attorneys for J.B. Hunt Transport, Inc.
Ven R. Johnson (P39219) 28411 Northwestern Highway, Suite 500
Attorneys for Plaintiff Southfield, Michigan 48034
99 Monroe Avenue, Suite 975 248.539.9918
Grand Rapids, Michigan 49503 dbeckwith@fosterswift.com

616.235.9400

 

J.B. HUNT TRANSPORT, INC.'s
ANSWER TO PLAINTIFF's COMPLAINT

J.B. Hunt Transport, Inc. (‘JB Hunt’), for its Answer to Plaintiff's Complaint, states as
follows:

1 JB Hunt neither admits nor denies the allegations contained in Paragraph 1
because it is without knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 1.

2. JB Hunt admits that it is a motor carrier authorized by the Federal Motor Carrier
Safety Administration to transport all kinds of freight in interstate commerce. JB Hunt denies
the remaining allegations contained in Paragraph 2 because the remaining allegations are not

true.
Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.22 Page 10 of 18

3. JB Hunt neither admits nor denies the allegations contained in Paragraph 3
because it is without knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 3.

4. JB Hunt neither admits nor denies the allegations contained in Paragraph 4
because it is without knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 4.

5. JB Hunt neither admits nor denies the allegations contained in Paragraph 5
because it is without knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 5.

6. JB Hunt neither admits nor denies the allegations contained in Paragraph 6
because it is without knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 6.

GENERAL ALLEGATIONS

7. JB Hunt adopts by reference its answers to Paragraphs 1 through 6 as if set forth
herein verbatim.

8. JB Hunt neither admits nor denies the allegations contained in Paragraph 8
because it is without knowledge or information sufficient to form a belief as to the truth of the
allegations contained in Paragraph 8.

9. JB Hunt neither admits nor denies that on May 8, 2018 at approximately 3:46
p.m., Stephanie Upchurch was stopped at the light on W. Paterson Street. JB Hunt denies the
remaining allegations contained in Paragraph 9 because the remaining allegations are not true.

10. | JB Hunt denies the allegations contained in Paragraph 10 because the allegations

are not true.

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Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.23 Page 11 of 18

i. JB Hunt denies the allegations contained in Paragraph 1] because the allegations
are not true,

12. JB Hunt denies the allegations contained in Paragraph 12 because the allegations
are not true.

13. JB Hunt denies the allegations contained in Paragraph 13 because the allegations
are not true.

COUNT I - NEGLIGENCE/GROSS NEGLIGENCE
JOHN DOE AND J.B. HUNT

14. JB Hunt adopts by reference its answers to Paragraphs | through 13 as if set forth
herein verbatim.

15. JB Hunt denies the allegations contained in Paragraph 15 because the allegations
are not true.

16. JB Hunt admits owing Plaintiff only such duties as are imposed by law. JB Hunt
denies breaching any such duties owed to the Plaintiff.

17. JB Hunt denies the allegations contained in Paragraph 17 because the allegations
are not true.

18. JB Hunt denies the allegations contained in Paragraph 18 because the allegations
are not true,

WHEREFORE, J.B. Hunt Transport, Inc. requests this Court dismiss Count | of
Plaintiff's Complaint with prejudice and without costs and award its attorney fees and costs so

wrongfully sustained.

COUNT II - NEGLIGENT HIRING, ENTRUSTMENT, TRAINING
AND/OR RETENTION ~- J.B. HUNT"

19. JB Hunt adopts by reference its answers to Paragraphs 1 through 18 as if set forth

herein verbatim.

5091 1:00048:4217395-1 3
Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.24 Page 12 of 18

20. JB Hunt denies the allegations contained in Paragraph 20 because the allegations
are not true.

21. JB Hunt denies the allegations contained in Paragraph 21 because the allegations
are not true.

22. JB Hunt denies the allegations contained in Paragraph 22 because the allegations
are not true.

23. | WHEREFORE, J.B. Hunt Transport, Inc. requests this Court dismiss Count II of
Plaintiff's Complaint with prejudice and without costs and award its attorney fees and costs so
wrongfully sustained.

FOSTER SWIFT COLLINS & SMITH PC

ay] un i Zeek.
ak H. Beckwith (P35609)

Attorneys for J. B. Hunt Transport, Inc.
28411 Northwestern Highway, Suite 500
Southfield, Michigan 48034
248.539.9918
dbeckwith@fosterswift.com
Dated: May 14, 2019
AFFIRMATIVE DEFENSES
J.8. Hunt Transport, Inc., for its Affirmative Defenses, says:
1. Defendant claims the rights, privileges and immunities provided under MCLA
500.310] et seq. being the Michigan No Fault Automobile Insurance Law.
2. Plaintiff has failed to state a claim upon which relief may be granted and
Defendant is entitled to judgment of No Cause for Action as a matter of law.

3. Any claim by Plaintiff for recovery of economic benefits, damages or payments is

barred to the extent provided by the applicable provisions of MCLA 500.3101 et seq.

5091 1:00048:4217395-1 4
Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.25 Page 13 of 18

4. Plaintiff's claim for wage loss benefits and/or loss of earning capacity is
specifically prohibited by Ouellette v Kenealy, 424 Mich 83, 375 NW2d 470 (1985) and, on that
basis, Plaintiffs have failed to state a claim upon which relief may be granted.

5. Plaintiff has not sustained injuries amounting to death, serious impairment of
body function or permanent, serious disfigurement within the meaning of MCLA 500.3135(1).

6. Plaintiff's injuries have not affected her ability to lead a normal life within the
meaning of Michigan's No Fault Act.

7. The sole, proximate cause of the complained of accident, damages and injuries to
the Plaintiff was the negligence and/or comparative negligence of Plaintiff in failing to make
proper observation, in failing to use due care, caution, and circumspection with respect to her
own health, welfare and safety, and in failing to keep a proper and safe lookout.

8. Defendant denies any negligence on its part whatsoever.

9, If the Plaintiff suffered any injury or damage as alleged, such damage was caused
by the intervening act or acts or omissions of parties other than Defendant and said act or acts or
omissions supersede any action or omission by Defendant of which it might be considered liable
to the Plaintiff, and which Defendant could not reasonably have foreseen, nor for which it can be
held liable in this action.

10. Defendant claims the rights, privileges and immunities as provided in Public Act
178 (1986) or commonly known as the Tort Reform Act of 1986.

IL. Plaintiff failed to mitigate her damages.

12. Plaintiff has violated the dictates of MCLA 257.710(e).

13. There is no proximate causation between the alleged accident and Plaintiff's

alleged injuries, if any.

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14. Defendant reserves the right to amend its Affirmative Defenses when the
discovery process reveals facts which will properly allow them to do so.

FOSTER, SWIFT, COLLINS & SMITH, P.C.

Dirk H. Beckwith (P35609)

Attomeys for Defendants

28411 Northwestern Highway, Suite 500
Southfield, Michigan 48034
248.539.9918
dbeckwith@fosterswift.com

Dated: May 14, 2019

CERTIFICATE OF SERVICE

I hereby certify that a true and accurate copy of the foregoing was served May 14, 2019,
via regular U.S. mail, postage prepaid on Jeremy Tiedt at 99 Monro¢ Avenue, N.W., Suite 975,
Grand Rapids, Michigan 49503.

 

 

Jo Dickingon;

 

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Case 1:19-cv-00502-PLM-PJG ECF No. 1-3 filed 06/24/19 PagelD.27 Page 15 of 18

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STATE OF MICHIGAN CIVIL PROCEEDINGS CASE NO. 2019-6204-NI
KALAMAZOO COUNTY MCR 2.401 C. Lipsey
Court Address Court Talephone No,
“TRIAL DIVISION - CIVIL - 160 E, CROSSTOWN PARKWAY, KALAMAZOO, MI 49001 (269) 383-9837
TQ: :
File Copy FE i L E D
MAY 2 2 2019
STH JUDICIAL CIRCUIT
COUNTY OF KALAMAZOO
sacs mnen KALAMAZOO, MICHIGAN
Plaintiffs} Vv Defendant(s)
| Stephanie Upchurch J.B, Hunt Transportation, inc,

 

 

 

 

 

THIS‘ORDER CONTROLS THE PRETRIAL AND TRIAL PROCEEDINGS IN THIS CASE. FOR CASES NOT
SCHEDULED FOR CASE EVALUATION, THIS ORDER iS THE ONLY NOTICE YOU WILL RECEIVE FOR
SETTLEMENT CONFERENCE AND TRIAL DATES. °

IT iS HEREBY ORDERED:

1. DATES.
a. Early Scheduling Conference Date for mediation (case tyges C8, CR, CP, PR and other Businass Court cases):
at . See item 9 of this order. :

b. Case Evaluation Date for ND, NF, NH, NI, NM, NO, NS, NZ, AND NP, (except asbestos cases) case
types: Friday, December 13, 2019
_ Clam. session [jp.m. session
Please refer to MCR 2.403 for time’standards, fees, and submissicn of documents.

Case Evaluation Fees: Plaintiff $75.00 Defendant $75.00
. Payment Is not due at this time. A notice wiil be mailed at least 28 days prior to the case evaluation

date designating the evaluation panel, a specific time for the evaluation, payment of fees, and

submission of documents.
The court will schedule and notice a settlement conference to be held within 30-60 days -
after case evaluation rejection. MCR 2.401. Parties and the attomey who will conduct the
trial must be present for the settlement conference. If a party Is insured, a representative
of the Insurance company, with ultimate settlement authority, must be present Any
settlement that limits the potential liability of any defendant at trial (such as a “high-low" or
Mary Carter agreement) must be disclosed to the court, .

The court wili schedule and notice a trial to be held within 60-90 days after case evaluation
rejection. MCR 2.501. [JNon-Jury Trial [Xj Jury Trial / Jury Fee Paid: [jYes LINo .

c. Settlement Conference Date: with the at MCR 2.401

Parties and the attomey who will conduct the trial must be present for the settlement conference. Ifa
party Is insured, a representative of the insurance company, with ultimate settlement authority, must be
present. Any settlement that limits the potential liability of any defendant at trial (such as a ‘high-low’ or
Mary Carter agreement) must be disclosed to the court.

 

d. Trial Date: with the Honorable Alexander C. Lipsey at 150 E. Crosstown Parkway, Kalamazco,
Michigan 48001 MCR 2.501

9CC-0208T (8/8/13) Civil Proceedings Scheduling Order

 

 
 

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Cl Nen-Jury Trial (C] Jury Trial / Jury Fee Paid: CJ Yes (No

2, PLEADINGS. The pleadings in this case are satisfactory. The pleadings may not be amended, nor may
parties be added, except as provided by court rule or a stipulated order signed by the court. MCR 2.118. If
a party is added after the date of this order, the party who caused them to be added shall serve them with a
copy of this order with the initial pleadings served on the new party.

All parties and claims have been joined. MCR 2.203-207

3. WITNESSES. The plaintiff(s) will submit a witness list to all other parties, including expert witnesses, not
later than 60 days from the date of this order. The defendant(s) will submit a witness list to all other parties,
including expert witnesses, not later than 90 days from the date of this order. A party may identify thelr
witnesses in response to a discovery request, if the disclosure Is timely under this section of the order. The
parties’ list of witnesses shall include the witnesses they may call at trial. The list shall include the name,
address or business address, and teleshane number of the witnesses. Any witness not named on the fist will
not be allowed to testify at trial except in the discretion of the court for good cause shown. MCR 2.401(1). By
an agreement, in writing, the partles may shorten or extend the witness disclosure deadlines, so long as that
does not affect the motién deadlines or the dates scheduled for case evaluation, settlement conference, or
trial,

4, DISCOVERY.

° Deadline: Discovery (which Includes timely responses under MCR and the actual taking of depositions) in
this case must be completed not later than 56 days before the case evaluation date above for ND, NF, NH,
Ni, NM, NO, NS, NZ, AND NP, (except asbestos cases) case types; and not later than 120 days from the
date of this order fer all other case types, unless the parties agree otherwise, in writing. Such agreements’
will not affect motion deadlines or lead to an adjournment of case evaluation, settlement conference or trial,
unless approved by a court order. MCR 2.302(F).

Physical and Mental Examinations: Physical or mental examinations shall be completed 28 days before the
discovery deadline, unless the parties agree otherwise, in writing.

5. MOTIONS

a. ND, NF, NH, Ni, NM, NO, NS, NZ, AND NP, (except asbestos cases) case types. All dispositive
motions must be scheduled and heard not tater than 14 days before case evaluation, unless otherwise
ordered by the court. The court reserves the right to limit the number of dispositive motions before case
evaluation in accordance with the Michigan Court Rules. Ordinarily, dispositive motions filed under MCR
2.116(C)(10) will not be heard until the conclusion of discovery or upon a demonstration that all relevant .
discovery has occurred on the issue addressed by the motion. All other motions, including motions in limine,
must be scheduled and heard no later than 14 days before trial. Legal authority shall accompany all motions.
Briefs shall accompany all motions. [fa moticn is contested, an answer with brief must be filed. A copy of all
motions and responses and accompanying authority shall be simultaneously provided to the Judge’s law
clerk, MCR 2,119.

b. All other case types. All dispositive motions must be heard 14 days before settlement conference, unless"
otherwise ordered by the court. Ordinarily, dispositive motions filed under MCR 2.116(C)(10) will not ba heard
until the conclusion of discovery or upon a demonstration that all relevant discovery has cccurred on the .
Issue addressed by the motion. All other motions, including motions In limine, must be scheduled and heard _
no later than 14 days before settlement conference. Legal authority shall accompany all motions. Briefs shall -
accompany all motions. If a motion is contested, an answer with brief must be filed. A copy of all motions
and responses and accompanying authority shall be simultaneously provided to the judge's law clerk. MCR
2.119,

6. TRIAL.
Exhibits: Each party is to exchange a list and description of exhibits to be introduced at the time of trial not
later than 7 days before trial. Plaintiff(s) exhibits shail be marked with numbers and Defendant(s) exhibits
shall be marked with letters. Each list of exhibits should describe those that are to be admitted without
objection and those to which there will be an objection, noting by whom the objection is made and the nature
of the objection. ,

Counsel shall agree as fo the authenticity and admissibility of exhibits so far as possible. Except for good
cause shown, the court will not permit the introduction of any exhibits, including exhibits to be used solely for

§CC-0208T (8/5/13) Civil Proceedings Scheduling Order

 
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the purpose of Impeachment, unless they have been listed In the exhibit list or unless the necessity for the
use of any particular exhibit reasonably could not have been foreseen.

Prior to the date of trial, ail exhibits shall be marked by the attorneys and dated with the first date of the trial.
Exhibit stickers may be obtained from the court. The attorneys will obtain an “Exhibit Log” from the court,
complete it and return it to the law clerk on the first day of trial.

Reference Documents (Bench Book} [required [not required [optional: _In addition to the formal
list of exhibits, copies are to be made for opposing counsel and a bench book of elements of all claims,
reference decuments and exhibits prepared and delivered to the court 7 days before trial with adequate
index, The parties shall meet and agree as to the exhibits to be contained in the bench book and the
indexing of said exhibits. : .

Trial Briefs: All parties will submit trial briefs containing proposed Issues of law. In non-jury trials, briefs must
contain proposed findings of fact and proposed conclusions of law. These briefs shall be filed 7 days prior to
trial and mutually exchanged.

The trial briefs of the parties shall address any and all legal Issues, which will be brought before the court by
the pleadings or the evidence. These matters shall be addressed in the briefs on both contested and
uncontested issues. MCR 2.401(D) .

Jury Instructions and Theory and Claim: Proposed Jury Instructions shail be delivered to the court's law
clerk/bailiff and cpposing counsel not later than 7 days prior to trial. Jury instructions are to be typewritten in
full, with all blanks completed and all inappropriate options deleted. The instructions shail include preliminary
instructions about the elements of all claims as well as legal presumptions and burdens of proof. Counsel
shall also submit a proposed theory and claim concisely setting forth in non-argumentative fashion their
position on the issues in.the case and the verdict they seek. The proposed theory and claim shall not exceed
two double-spaced, typewritten pages in length, except as otherwise permitted by the court. The theory and
claim is read to the jury along with the fina instructions in the case. The court may edit the proposed theory
and claim for length or content. The parties may waive the theory and claim.

Voir Dire: At the discretion of the court, voir dire may be conducted by the court. The court In the exercise
of its discretion may allow each party up to 30 minutes of voir dire, Parties whose interests are essentially
ideritical will be treated as a single party for purposes of this limitation. MCR 2.511(C)

Opening Statements and Closing Arguments: Unless otherwise ordered by the court, each party's opening
statement will be limited to 30 minutes. If parties’ interests are essentially identical, they will have a total of
30 minutes for an opening statement. Unless otherwise ordered by the court, closing arguments for each
party shail not exceed 45 minutes. Parties whose interests are essentially Identical will have a total of 45
minutes. Plaintifi(s) may have an additional 10 minutes for any rebuttal.

7, ADJOURNMENT. Ifa motion for adjourmment of the trial date is necessary, the same shall be filed not later
than 14 days prior to the scheduled trial date. If the trial is to be adjourned by stiputation, the stipulation shall
be filed not later than 14 days prior to the trial date. A case Is not edjourned unless and until the court enters
an order adjourning the trial, Motions and stipulations for adjournment must conform with MCR 2.503.

8. RESOLUTION. IF THE CASE IS SETTLED, THE PLAINTIFF'S ATTORNEY WILL IMMEDIATELY
NOTIFY THE CIVIL ASSIGNMENT CLERK OF THE SETTLEMENT AND PREPARE AND PRESENT TO
THE COURT A JUDGMENT OR PROPOSED ORDER DISMISSING THE CASE. Only upon timely receipt
of a judgment or proposed order of dismissal will the matter be removed from the trial docket.

9, [C] EARLY SCHEDULING CONFERENCE (case types CB, CR, CP, PR and other Business Court cases): This
case Is scheduled for an early scheduling conference to consider mediation. If the parties agree prior to the
status conference date that they will use mediation, the enclosed Order for Mediation must be completed and
filed with the ADR clerk prior to the status conference date. (If desired, an electronic version of this form may
be obtained from the ADR clerk.) The status conference will be canceled if ail parties agree to mediation and
the Order for Mediation is timely filed with the court. If mediation is ordered, a mediator may be selected by
stipulation of the parties or appointment by: the court. The attomeys/parties will arrange fer payment for
mediation services directly with the mediator and will be responsible for the direct payment for such services.
Mediation costs will be divided as indicated on the Order for Mediation. Upon completion of mediation, a
written report will be filed with the ADR clerk using court form 9CC-0222, Alternative Dispute Resclution

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(Attachment: Form MC 274-M, Order for Mediation

Report, which may be obtained from the ADR clerk.

OTHER ALTERNATIVE DISPUTE RESOLUTION. The parties are encouraged to consider the use of other
alternative dispute resolution mechanisms to resolve this matter. There are a variety of conciliation,
mediation and arbitration options. The court is willing to explore the available options with parties and
counsel. If the parties choose to engage in any ADR process ancillary to the court ordered case evaluation
process, advise the ADR Clerk (269-384-8255). Notification to the ADR Clerk assists with caseflow
management and mandatory statistical reporting. Upon completion of any elective ADR process, please
complete form 8CC-0222, Alternative Dispute Resolution Report, and return it to: ADR Clerk, $® Circuit

‘ Court, 150 E Crosstown Parkway, Kalamazoo, Mi 49001.

Contact the ADR Coordinator at 269-384-8255 for an updated copy of the Alternative Dispute Resolution List

of Civil Mediators (9CC-0225) and form SCC-0222, Alternative Dispute Resolution Report. .
The court will not delay the deadlines and dates contained in this Scheduling Order because the parties are
engaged in an elective ADR process. - ‘ ,

SANCTIONS. The contents of this order shall control the course of the litigation in this matter. Failure to
comply with the requirements of this order may result in sanctions.

OBJECTIONS. Any objections or corrections to this order shall be filed with the court within 14 days from
the date of this order and schedule the objection for hearing. MCR 2.401(B)(2)(d)(1)

STATUS CONFERENCE. On the request of any party, the court may schedule a status conference fo |
consider modifications to this order. MCR 2.401(A) ’

. OTHER. .
Dated: MAY 22 209 ~—«;. KOw A f Ze

Honorable Alexander C. Lipsey, Circéft Jugge

 

[CERTIFICATE OF MAILING |

 

| certify that on this date | served a copy of this order on the parties or their attorneys by first-class mail addressed
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their last-known addresses as defined In MCR 2.107(C)(3). ~

      
    

S,

Court Clerk

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